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                                     7
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                                     8
                                         BLUE SPIKE LLC
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                                    10
                                                       IN THE UNITED STATES DISTRICT COURT
                                    11
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    13

                                    14   BLUE SPIKE LLC,                           Civil Case No.: 2:18-cv-05026
                                    15
                                                     Plaintiff,                    ORIGINAL COMPLAINT
                                    16                                             FOR PATENT
                                         v.                                        INFRINGEMENT
                                    17

                                    18   ASPIRO AB,                                JURY TRIAL DEMANDED
                                    19
                                                     Defendant.
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                                     2         Plaintiff Blue Spike LLC (“Blue Spike” or “Plaintiff”) files this complaint against
                                     3
                                         the above-named Defendant (“Aspiro”), alleging 5 counts of infringement of the
                                     4

                                     5   following 5 Patents-in-Suit:
                                     6         1.     U.S. Patent 7,159,116 B2, titled “Systems, methods and devices for
                                     7   trusted transactions” (the ’116 Patent).
                                     8         2.     U.S. Patent 8,538,011 B2, titled “Systems, methods and devices for
                                     9   trusted transactions” (the ’011 Patent).
                                    10
                                               3.     U.S. Patent 7,813,506 B2, titled “System and methods for permitting
                                    11   open access to data objects and for securing data within the data objects” (the ’506
                                         Patent).
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                                    13         4.    U.S. Patent 7,664,263 B2, titled “Method for combining transfer
                                         functions and predetermined key creation” (the ’263 Patent).
                                    14

                                    15         5.    U.S. Patent 8,265,276 B2, titled “Method for combining transfer
                                         functions and predetermined key creation” (the ’276 Patent).
                                    16

                                    17         See Exhibits 2–6.
                                    18                                  NATURE OF THE SUIT
                                    19
                                         1.    This is a claim for patent infringement arising under the patent laws of the
                                    20

                                    21   United States, Title 35 of the United States Code.
                                    22
                                                                               PARTIES
                                    23

                                    24   2.    Plaintiff Blue Spike LLC is a Texas limited liability company and has its
                                    25
                                         headquarters and principal place of business at 1820 Shiloh Road, Suite 1201-C,
                                    26

                                    27
                                         Tyler, Texas 75703. Blue Spike LLC is the assignee of the exclusive license of the

                                    28   Patents-in-Suit, and has ownership of all substantial rights in the Patents-in-Suit,

                                                                                    2
                                     Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 3 of 49 Page ID #:3




                                     1   including the rights to grant sublicenses, to exclude others from using it, and to sue
                                     2
                                         and obtain damages and other relief for past and future acts of patent infringement.
                                     3
                                         3.   On information and belief, Defendant Aspiro AB is a company organized under
                                     4

                                     5   the laws of Sweden, with its principal place of business at Stora Varvsgatan 6 A, SE-
                                     6
                                         211 19 Malmö, Sweden and 1411 Broadway New York, New York 10018. Defendant
                                     7

                                     8
                                         can be served along with and through its general manager and wholly-owned

                                     9   subsidiary, Aspiro, Inc. See California Code of Civil Procedure Section 416.10(b);
                                    10
                                         Falco v. Nissan N. Am. Inc., 987 F. Supp. 2d 1071, 1075–76 (C.D. Cal. 2013). On
                                    11
                                         information and belief, Aspiro, Inc. is a corporation established under the laws of the
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                                    12

                                    13   State of Delaware, with its place of business at 88 1st Street Floor 5, San Francisco,
                                    14
                                         California 94105 and 1411 Broadway New York, New York 10018. Aspiro, Inc. can
                                    15

                                    16   be served through its registered agent, The Corporation Trust Company, located at
                                    17   The Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.
                                    18

                                    19                             JURISDICTION AND VENUE
                                    20
                                         4.    This lawsuit is a civil action for patent infringement arising under the patent
                                    21

                                    22
                                         laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter

                                    23   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.
                                    24
                                         5.    Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)-(c) and
                                    25

                                    26
                                         1400(b) because Defendant has a regular and established place of business in this

                                    27   District. See, 28 U.S.C § 1400(b); TC Heartland LLC v. Kraft Foods Group Brands LLC,
                                    28
                                         137 S. Ct. 1514, 1521 (2017); In re Cray Inc., 871 F.3d 1355, 1360–4 (Fed. Cir. 2017).
                                                                                   3
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                                     1   Foreign corporations that do not reside in the United States are subject to suit under
                                     2
                                         28 U.S.C § 1391(c)(3) in any judicial district.
                                     3
                                         6.    The Court has personal jurisdiction over Defendant for the following:
                                     4

                                     5   (1) Defendant has committed acts of patent infringement and contributed to and
                                     6
                                         induced acts of patent infringement by others in this District; (2) Defendant regularly
                                     7
                                         does business or solicits business in this District; (3) Defendant engages in other
                                     8

                                     9   persistent courses of conduct and derives substantial revenue by its offering of
                                    10
                                         infringing products and services and providing infringing products and services in
                                    11
                                         this District; and (4) Defendant has purposefully established substantial, systematic,
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                                    12

                                    13   and continuous contacts with this District and should reasonably expect to be haled
                                    14
                                         into court here by its offering of infringing products and services and providing
                                    15

                                    16
                                         infringing products and services in this District.

                                    17                                FACTUAL BACKGROUND
                                    18
                                         7.    Protection of intellectual property is a prime concern for creators and
                                    19

                                    20
                                         publishers of digitized copies of copyrightable works, such as musical recordings,

                                    21   movies, video games, and computer software. Blue Spike founder Scott Moskowitz
                                    22
                                         pioneered—and continues to invent—technology that makes such protection
                                    23

                                    24   possible.
                                    25   8.    Blue Spike is a company focused on innovation with research and development.
                                    26
                                         Blue Spike does not make a service that competes directly with Defendant, but Blue
                                    27

                                    28   Spike has licensed its pioneering patents to competitors of Defendant.

                                                                                     4
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                                     1   9.    Blue Spike is a practicing entity, just not in the same field as Defendant. For
                                     2
                                         instance, Blue Spike provides pre-release tracking technology for audio, like new
                                     3
                                         music artists’ singles, that may be sent to various radio stations for promotional
                                     4

                                     5   purposes. This type of tracking helps an artist know whether a radio station
                                     6
                                         improperly posts the song for sale rather than simply playing it as a “demo only.”
                                     7
                                         Blue Spike also has other service offerings at bluespike.com.
                                     8

                                     9   10.   Moskowitz is a senior member of the Institute of Electrical and Electronics
                                    10
                                         Engineers (IEEE), a member of the Association for Computing Machinery, and the
                                    11
                                         International Society for Optics and Photonics (SPIE). As a senior member of the
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                                    12

                                    13   IEEE, Moskowitz has peer-reviewed numerous conference papers and has submitted
                                    14
                                         his own publications.
                                    15

                                    16
                                         11.   Moskowitz is an inventor on more than 110 patents, including forensic

                                    17   watermarking, signal abstracts, data security, software watermarks, service license
                                    18
                                         keys, deep packet inspection, license code for authorized software and bandwidth
                                    19

                                    20
                                         securitization.

                                    21   12.   The National Security Agency (NSA) even took interest in his work after he
                                    22
                                         filed one of his early patent applications. The NSA marked the application “classified”
                                    23

                                    24   under a “secrecy order” while it investigated his pioneering innovations and their
                                    25   impact on national security.
                                    26
                                         13.   As an industry trailblazer, Moskowitz has been a public figure and an active
                                    27

                                    28   author on technologies related to protecting and identifying software and multimedia

                                                                                    5
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                                     1   content. A 1995 New York Times article—titled “TECHNOLOGY: DIGITAL
                                     2
                                         COMMERCE; 2 plans for watermarks, which can bind proof of authorship to
                                     3
                                         electronic works”—recognized Moskowitz’s company as one of two leading software
                                     4

                                     5   start-ups in this newly created field. Forbes also interviewed Moskowitz as an expert
                                     6
                                         for “Cops Versus Robbers in Cyberspace,” a September 9, 1996 article about the
                                     7
                                         emergence of digital watermarking and rights-management technology. He has also
                                     8

                                     9   testified before the Library of Congress regarding the Digital Millennium Copyright
                                    10
                                         Act.
                                    11
                                         14.    Moskowitz has spoken to the RSA Data Security Conference, the International
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                                    12

                                    13   Financial Cryptography Association, Digital Distribution of the Music Industry, and
                                    14
                                         many other organizations about the business opportunities that digital watermarking
                                    15

                                    16
                                         creates. Moskowitz also authored So This Is Convergence?, the first book of its kind

                                    17   about secure digital-content management. This book has been downloaded over a
                                    18
                                         million times online and has sold thousands of copies in Japan, where Shogakukan
                                    19

                                    20
                                         published it under the name Denshi Skashi, literally “electronic watermark.”

                                    21   Moskowitz was asked to author the introduction to Multimedia Security Technologies
                                    22
                                         for Digital Rights Management, a 2006 book explaining digital-rights management.
                                    23

                                    24   Moskowitz authored a paper for the 2002 International Symposium on Information
                                    25   Technology, titled “What is Acceptable Quality in the Application of Digital
                                    26
                                         Watermarking: Trade-offs of Security, Robustness and Quality.” He also wrote an
                                    27

                                    28


                                                                                  6
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                                     1   invited 2003 article titled “Bandwidth as Currency” for the IEEE Journal, among
                                     2
                                         other publications.
                                     3
                                         15.   Moskowitz and Blue Spike continue to invent technologies that protect
                                     4

                                     5   intellectual property from unintended use or unauthorized copying.
                                     6

                                     7                         THE ACCUSED PRODUCTS AND SERVICES
                                     8   16.   Defendant makes, uses, offers for sale and sells in the U.S. products, systems,
                                     9
                                         and/or services that infringe the Patents-in-Suit, including, but not limited to, its
                                    10

                                    11   TIDAL music services and products (“Accused Products and Services”).
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                                         Figure 1 – Screen shot of Defendant offering of Accused Products and Services on
                                         Defendant webpage, as viewed at http://tidal.com/us.
                                                                                  7
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                                    16   Figure 2 – Screen shot of Defendant offering of Accused Products and Services on
                                    17   Defendant webpage, as viewed at http://tidal.com/us/try-now.
                                    18   17.   Defendant has not sought or obtained a license for any of Blue Spike’s patented
                                    19
                                         technologies. This creates a competitive disadvantage to other Companies, like Apple,
                                    20
                                         Acer, Dell, IBM, Samsung, and Sony to name some large companies, who recognized
                                    21

                                    22   the value and novelty Blue Spike’s patents provide to society.
                                    23
                                         18.   Each count of patent infringement contained herein is accompanied by a
                                    24

                                    25
                                         representative claim. See, Atlas IP LLC v. P. Gas and Electric Co., 15-CV-05469-EDL,

                                    26   2016 WL 1719545, at *5 (N.D. Cal. Mar. 9, 2016) (“Iqbal and Twombly only require
                                    27
                                         Plaintiff to state a plausible claim for relief, which can be satisfied by adequately
                                    28
                                         pleading infringement of one claim.”).
                                                                                    8
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                                     1                                          COUNT 1:
                                     2              INFRINGEMENT OF U.S. PATENT U.S. Patent 7,159,116 B2
                                     3   19. Blue Spike incorporates by reference the paragraphs above and below.
                                     4
                                         20. The ’116 Patent is presumed valid, enforceable, and was duly and legally issued
                                     5

                                     6   by the United States Patent and Trademark Office.
                                     7
                                         21.      These claims are directed to a non-abstract improvement in computer
                                     8
                                         functionality, rather than a method of organizing human activity or an idea of itself.
                                     9

                                    10   See Aatrix Software, Inc. v. Green Shades Software, Inc., 2017-1452 (Fed. Cir. Feb. 14,
                                    11
                                         2018).
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                                    12
                                         22.      The specification of the ’116 Patent explains both the problem in the prior art
                                    13

                                    14   and the benefit of the computer-implemented invention. This difference is not “well
                                    15
                                         known” or “conventional.” A human cannot perform these tasks.
                                    16
                                         23. Without a license or permission from Blue Spike, Defendant has infringed and
                                    17

                                    18   continues to infringe on one or more claims of the ’116 Patent—directly,
                                    19
                                         contributorily, or by inducement—by importing, making, using, offering for sale, or
                                    20
                                         selling products and devices that embody the patented invention, including, without
                                    21

                                    22   limitation, one or more of the Accused Products and Services, in violation of 35
                                    23
                                         U.S.C. § 271.
                                    24
                                         Direct Infringement.
                                    25

                                    26   24. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
                                    27
                                         and Services which practice all the elements of the ’116 Patent. For instance, the
                                    28
                                         Accused Products and Services infringe claim 14 of the ’116 Patent which recites:
                                                                                     9
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                                     1
                                                      A device for conducting a trusted transaction between at
                                     2
                                                      least two parties who have agreed to transact, comprising:
                                     3                means for uniquely identifying information selected from
                                                      the group consisting of a unique identification of one of the
                                     4
                                                      parties, a unique identification of the transaction, a unique
                                     5                identification of value added information to be transacted, a
                                                      unique identification of a value adding component;
                                     6
                                                      a steganographic cipher for generating said unique
                                     7                identification information, wherein the steganographic
                                                      cipher is governed by at least the following elements: a
                                     8
                                                      predetermined key, a predetermined message, and a
                                     9                predetermined carrier signal; and
                                    10
                                                      a means for verifying an agreement to transact between the
                                                      parties.
                                    11
                                         25. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
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                                    12

                                    13   and Services which institute trusted transactions between at least two parties,
                                    14
                                         Defendant and customer, who have agreed to transact and allow the customer to
                                    15

                                    16
                                         access, download, and play music. See Exhibits 1 & A.

                                    17   Indirect Infringement.
                                    18
                                         26. Defendant has been and now is indirectly infringing by way of inducing
                                    19

                                    20
                                         infringement by others and/or contributing to the infringement by others of the ’116

                                    21   Patent in this State, in this judicial district, and elsewhere in the United States, by,
                                    22
                                         among other things, making, using, importing, offering for sale, and/or selling,
                                    23

                                    24   without license or authority, infringing services for use in systems that fall within the
                                    25   scope of one or more claims of the ’116 Patent. Such products include, without
                                    26
                                         limitation, one or more of the Accused Products and Services. By making, using,
                                    27

                                    28


                                                                                    10
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                                     1   importing offering for sale, and/or selling such, Defendant injured Blue Spike and is
                                     2
                                         thus liable to Blue Spike for infringement of the ’116 Patent under 35 U.S.C. § 271.
                                     3
                                         27. Defendant actively induces infringement under Title 35 U.S.C. § 271(b).
                                     4

                                     5   Defendant performed actions that induced infringing acts that Defendant knew or
                                     6
                                         should have known would induce actual infringements. See Manville Sales Corp. v.
                                     7
                                         Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v.
                                     8

                                     9   JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding
                                    10
                                         of inducement requires a threshold finding of direct infringement—either a finding of
                                    11
                                         specific instances of direct infringement or a finding that the accused products
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12

                                    13   necessarily infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks
                                    14
                                         Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).
                                    15

                                    16
                                         28. Plaintiff will rely on direct and/or circumstantial evidence to prove the intent

                                    17   element. See Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir.
                                    18
                                         2005) (“A patentee may prove intent through circumstantial evidence.”); Water Techs.
                                    19

                                    20
                                         Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is

                                    21   necessary, direct evidence is not required; rather, circumstantial evidence may
                                    22
                                         suffice.”).
                                    23

                                    24   29. Defendant took active steps to induce infringement, such as advertising an
                                    25   infringing use, which supports a finding of an intention for the accused product to be
                                    26
                                         used in an infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
                                    27

                                    28   545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the

                                                                                   11
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                                     1   contributory infringement doctrine “was devised to identify instances in which it may
                                     2
                                         be presumed from distribution of an article in commerce that the distributor intended
                                     3
                                         the article to be used to infringe another’s patent, and so may justly be held liable for
                                     4

                                     5   that infringement”).
                                     6
                                         30. It is not necessary for Plaintiff to indicate specific customers directly infringing
                                     7
                                         the Patents-in-Suit through the use of Defendant’s products and services. See In re
                                     8

                                     9   Bill of Lading Transmission and Processing System Pat. Litig., 681 F.3d 1323, 1336 (Fed.
                                    10
                                         Cir. 2012).
                                    11
                                         Induced Infringement.
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                                    12

                                    13   31. Defendant induces infringement of its customers, who use the infringing
                                    14
                                         functionality, and its partners and resellers, who offer for sale and sell the Accused
                                    15

                                    16
                                         Products and Services.

                                    17   32. Defendant induces end users of the Accused Products and Services to infringe.
                                    18
                                         Defendant induces its customers to infringe at the very least by providing
                                    19

                                    20
                                         information on how to access the Internet via its router system.

                                    21   33. Defendant also provides customers other incentives to use the infringing
                                    22
                                         services, such as premium services. See Exhibit A; see Power Integrations v.
                                    23

                                    24   Semiconductor, 843 F.3d at 1335 (“[W]e have affirmed induced infringement verdicts
                                    25   based on circumstantial evidence of inducement (e.g., advertisements, user manuals)
                                    26
                                         directed to a class of direct infringers (e.g., customers, end users) without requiring
                                    27

                                    28


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                                     1   hard proof that any individual third-party direct infringer was actually persuaded to
                                     2
                                         infringe by that material.”).
                                     3
                                         34. Defendant had knowledge of the ’116 Patent at least as early as the service of
                                     4

                                     5   this complaint, and has known since then that the Accused Products and Services
                                     6
                                         infringe the Patents-in-Suit. Nevertheless, Defendant has continued to induce its
                                     7
                                         customers and partners to infringe. It does so through its instructions accompanying
                                     8

                                     9   the Accused Products and Services, its technical support, demonstrations and
                                    10
                                         tutorials. Thus, Defendant is liable for infringement of one or more claims of the ’116
                                    11
                                         Patent by actively inducing infringement.
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                                    12

                                    13   35. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                    14
                                         from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                    15

                                    16
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.

                                    17   Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                    18
                                         knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                    19

                                    20
                                         [it] existed.” Id. at 1547.

                                    21   Contributory Infringement.
                                    22
                                         36. Defendant is also a contributory infringer. In addition to proving an act of
                                    23

                                    24   direct infringement, plaintiff contends that defendant knew that the combination for
                                    25   which its components were especially made was both patented and infringing.
                                    26
                                         37. The contributory infringement doctrine was devised to identify instances in
                                    27

                                    28   which it may be presumed from distribution of an article in commerce that the

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                                     1   distributor intended the article to be used to infringe another’s patent, and so may
                                     2
                                         justly be held liable for that infringement. See Metro-Goldwyn-Mayer Studios Inc. v.
                                     3
                                         Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781(2005).
                                     4

                                     5   38. Defendant contributed to the infringement by providing the Accused Products
                                     6
                                         and Services to its customers, partners and resellers.
                                     7
                                         39. The accused functionality in the Accused Products and Services has no
                                     8

                                     9   substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway, Inc., 580 F. 3d
                                    10
                                         1301 (Fed. Cir. 2009) (holding that the substantial non-infringing uses element of a
                                    11
                                         contributory infringement claim applies to an infringing feature or component). An
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                                    12

                                    13   “infringing feature” of a product does not escape liability simply because the product
                                    14
                                         as a whole has other non-infringing uses. See id. at 1321.
                                    15

                                    16
                                         Plaintiff Suffered Damages.

                                    17   40. Defendant’s acts of infringement of the ’116 Patent have caused damage to Blue
                                    18
                                         Spike, and Blue Spike is entitled to recover from Defendant the damages sustained as
                                    19

                                    20
                                         a result of Defendant’s wrongful acts in an amount described in the prayer below.

                                    21   Defendant’s infringement of Blue Spike’s exclusive rights under the ’116 Patent will
                                    22
                                         continue to damage Blue Spike, causing it irreparable harm, for which there is no
                                    23

                                    24   adequate remedy at law, warranting an injunction from the Court.
                                    25   41. On information and belief, the infringement of the ’116 Patent by Defendant has
                                    26
                                         been willful and continues to be willful. Defendant had knowledge of the ’116 Patent,
                                    27

                                    28   including but not limited to at least one or more of the following events:

                                                                                     14
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                                     1             a. The filing of Blue Spike’s complaint against Defendant.
                                     2
                                                   b. Knowledge of Blue Spike’s filings against its competitors, Spotify and
                                     3
                                                        Pandora.
                                     4

                                     5             c.         In the course of its due diligence and freedom to operate analyses.
                                     6
                                                   d.         News coverage of Blue Spike’s enforcement of this patent against
                                     7
                                                        other infringers.
                                     8

                                     9             e.         Part of the due diligence investigation performed during Sprint’s
                                    10
                                                        acquisition of 33% ownership of Defendant.
                                    11
                                         42. On information and belief, Defendant has had at least had constructive notice of
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                                    13   the ’116 Patent by operation of law. Plaintiff believes the evidence provided shows
                                    14
                                         Defendant’s willful infringement is egregious. Even so, Plaintiff is not required to
                                    15

                                    16
                                         prove egregiousness in its pleadings. “Even after Halo, broader allegations of

                                    17   willfulness, without a specific showing of egregiousness, are sufficient to withstand a
                                    18
                                         motion to dismiss.” Shire ViroPharma Inc. v. CSL Behring LLC, CV 17-414, 2018 WL
                                    19

                                    20
                                         326406, at *3 (D. Del. Jan. 8, 2018) (denying a defendant’s motion to dismiss and

                                    21   noting “Defendants’ argument seems to conflate the standards for pleading willful
                                    22
                                         infringement with the standards for proving willful infringement.”).
                                    23

                                    24   43. A jury is capable, and indeed required, to examine facts that plausibly support a
                                    25   finding of willful infringement. Here, the facts provide “a sufficient predicate” to
                                    26
                                         support a jury’s finding of willfulness. See Barry v. Medtronic, Inc., 250 F. Supp. 3d 107,
                                    27

                                    28   111 (E.D. Tex. 2017) (listing a series of nine-factors utilized in the Federal Circuit,

                                                                                     15
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                                     1   including whether the infringer knew of the other’s patent protection and
                                     2
                                         investigated, the infringers behavior, defendant’s size and financial condition,
                                     3
                                         closeness of the case, duration of misconduct, and remedial action taken by defendant
                                     4

                                     5   once it was notified of infringement, as factors that are “a sufficient predicate” of fact
                                     6
                                         to support a jury’s finding of willfulness).
                                     7
                                         44. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                     8

                                     9   from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                    10
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.
                                    11
                                         Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
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                                    13   knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                    14
                                         [it] existed.” Id. at 1547.
                                    15

                                    16
                                                                                COUNT 2:
                                                    INFRINGEMENT OF U.S. PATENT US Patent 8,538,011 B2
                                    17

                                    18   45. Blue Spike incorporates by reference the paragraphs above and below.
                                    19
                                         46. The ’011 Patent is presumed valid, enforceable, and was duly and legally issued
                                    20
                                         by the United States Patent and Trademark Office.
                                    21

                                    22   47.      These claims are directed to a non-abstract improvement in computer
                                    23
                                         functionality, rather than a method of organizing human activity or an idea of itself.
                                    24
                                         See Aatrix Software, Inc. v. Green Shades Software, Inc., 2017-1452 (Fed. Cir. Feb. 14,
                                    25

                                    26   2018).
                                    27

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                                     1   48.   The specification of the ’011 Patent explains both the problem in the prior art
                                     2
                                         and the benefit of the computer-implemented invention. This difference is not “well
                                     3
                                         known” or “conventional.” A human cannot perform these tasks.
                                     4

                                     5   49. Without a license or permission from Blue Spike, Defendant has infringed and
                                     6
                                         continues to infringe on one or more claims of the ’011 Patent—directly,
                                     7
                                         contributorily, or by inducement—by importing, making, using, offering for sale, or
                                     8

                                     9   selling products and devices that embody the patented invention, including, without
                                    10
                                         limitation, one or more of the Accused Products and Services, in violation of 35
                                    11
                                         U.S.C. § 271.
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                                    13   Direct Infringement.
                                    14
                                         50. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
                                    15

                                    16
                                         and Services which practice all the elements of the ’011 Patent. For instance, the

                                    17   Accused Products and Services infringe claim 35 of the ’011 Patent which recites:
                                    18
                                                     A device for conducting trusted transactions between at
                                    19               least two parties, comprising:
                                    20
                                                     a steganographic cipher;
                                                     a controller for receiving input data or outputting output
                                    21               data; and
                                    22               at least one input/output connection,
                                                     wherein the device has a device identification code stored in
                                    23               the device;
                                    24               an analog to digital converter; and
                                                     a steganographically ciphered software application;
                                    25               wherein said steganographically ciphered software
                                    26               application has been subject to a steganographic cipher for
                                                     serialization;
                                    27               wherein said steganographic cipher receives said output
                                    28               data, steganographically ciphering said output data using a
                                                     key, to define steganographically ciphered output data, and
                                                                                  17
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                                     1                transmits said steganographically ciphered output data to
                                                      said at least one input/output connection;
                                     2
                                                      wherein the device is configured to steganographically
                                     3                cipher both value-added information and at least one value-
                                                      added component associated with the value-added
                                     4
                                                      information.
                                     5
                                         51. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
                                     6

                                     7   and Services which institute trusted transactions between at least two parties,
                                     8
                                         Defendant and customer, who have agreed to transact and allow the customer to
                                     9

                                    10
                                         access, download, and play music. See Exhibits 1 & A.

                                    11   Indirect Infringement.
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12
                                         52. Defendant has been and now is indirectly infringing by way of inducing
                                    13

                                    14
                                         infringement by others and/or contributing to the infringement by others of the ’011

                                    15   Patent in this State, in this judicial district, and elsewhere in the United States, by,
                                    16
                                         among other things, making, using, importing, offering for sale, and/or selling,
                                    17

                                    18
                                         without license or authority, infringing services for use in systems that fall within the

                                    19   scope of one or more claims of the ’011 Patent. Such products include, without
                                    20
                                         limitation, one or more of the Accused Products and Services. By making, using,
                                    21

                                    22   importing offering for sale, and/or selling such, Defendant injured Blue Spike and is
                                    23   thus liable to Blue Spike for infringement of the ’011 Patent under 35 U.S.C. § 271.
                                    24
                                         53. Defendant actively induces infringement under Title 35 U.S.C. § 271(b).
                                    25

                                    26   Defendant performed actions that induced infringing acts that Defendant knew or
                                    27   should have known would induce actual infringements. See Manville Sales Corp. v.
                                    28
                                         Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v.
                                                                                    18
                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 19 of 49 Page ID #:19




                                     1   JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding
                                     2
                                         of inducement requires a threshold finding of direct infringement—either a finding of
                                     3
                                         specific instances of direct infringement or a finding that the accused products
                                     4

                                     5   necessarily infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks
                                     6
                                         Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).
                                     7
                                         54. Plaintiff will rely on direct and/or circumstantial evidence to prove the intent
                                     8

                                     9   element. See Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir.
                                    10
                                         2005) (“A patentee may prove intent through circumstantial evidence.”); Water Techs.
                                    11
                                         Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is
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                                    12

                                    13   necessary, direct evidence is not required; rather, circumstantial evidence may
                                    14
                                         suffice.”).
                                    15

                                    16
                                         55. Defendant took active steps to induce infringement, such as advertising an

                                    17   infringing use, which supports a finding of an intention for the accused product to be
                                    18
                                         used in an infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
                                    19

                                    20
                                         545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the

                                    21   contributory infringement doctrine “was devised to identify instances in which it may
                                    22
                                         be presumed from distribution of an article in commerce that the distributor intended
                                    23

                                    24   the article to be used to infringe another’s patent, and so may justly be held liable for
                                    25   that infringement”).
                                    26
                                         56. It is not necessary for Plaintiff to indicate specific customers directly infringing
                                    27

                                    28   the Patents-in-Suit through the use of Defendant’s products and services. See In re

                                                                                    19
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                                     1   Bill of Lading Transmission and Processing System Pat. Litig., 681 F.3d 1323, 1336 (Fed.
                                     2
                                         Cir. 2012).
                                     3
                                         Induced Infringement.
                                     4

                                     5   57. Defendant induces infringement of its customers, who use the infringing
                                     6
                                         functionality, and its partners and resellers, who offer for sale and sell the Accused
                                     7
                                         Products and Services.
                                     8

                                     9   58. Defendant induces end users of the Accused Products and Services to infringe.
                                    10
                                         Defendant induces its customers to infringe at the very least by providing
                                    11
                                         information on how to access the Internet via its router system.
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12

                                    13   59. Defendant also provides customers other incentives to use the infringing
                                    14
                                         services, such as premium services. See Exhibit A; see Power Integrations v. Fairchild
                                    15

                                    16
                                         Semiconductor, 843 F.3d at 1335 (“[W]e have affirmed induced infringement verdicts

                                    17   based on circumstantial evidence of inducement (e.g., advertisements, user manuals)
                                    18
                                         directed to a class of direct infringers (e.g., customers, end users) without requiring
                                    19

                                    20
                                         hard proof that any individual third-party direct infringer was actually persuaded to

                                    21   infringe by that material.”).
                                    22
                                         60. Defendant had knowledge of the ’011 Patent at least as early as the service of
                                    23

                                    24   this complaint, and has known since then that the Accused Products and Services
                                    25   infringe the Patents-in-Suit. Nevertheless, Defendant has continued to induce its
                                    26
                                         customers and partners to infringe. It does so through its instructions accompanying
                                    27

                                    28   the Accused Products and Services, its technical support, demonstrations and

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                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 21 of 49 Page ID #:21




                                     1   tutorials. Thus, Defendant is liable for infringement of one or more claims of the ’011
                                     2
                                         Patent by actively inducing infringement.
                                     3
                                         61. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                     4

                                     5   from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                     6
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.
                                     7
                                         Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                     8

                                     9   knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                    10
                                         [it] existed.” Id. at 1547.
                                    11
                                         Contributory Infringement.
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                                    12

                                    13   62. Defendant is also a contributory infringer. In addition to proving an act of
                                    14
                                         direct infringement, plaintiff contends that defendant knew that the combination for
                                    15

                                    16
                                         which its components were especially made was both patented and infringing.

                                    17   63. The contributory infringement doctrine was devised to identify instances in
                                    18
                                         which it may be presumed from distribution of an article in commerce that the
                                    19

                                    20
                                         distributor intended the article to be used to infringe another’s patent, and so may

                                    21   justly be held liable for that infringement. See Metro-Goldwyn-Mayer Studios Inc. v.
                                    22
                                         Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781(2005).
                                    23

                                    24   64. Defendant contributed to the infringement by providing the Accused Products
                                    25   and Services to its customers, partners and resellers.
                                    26
                                         65. The accused functionality in the Accused Products and Services has no
                                    27

                                    28   substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway, Inc., 580 F. 3d

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                                     1   1301 (Fed. Cir. 2009) (holding that the substantial non-infringing uses element of a
                                     2
                                         contributory infringement claim applies to an infringing feature or component). An
                                     3
                                         “infringing feature” of a product does not escape liability simply because the product
                                     4

                                     5   as a whole has other non-infringing uses. See id. at 1321.
                                     6
                                         Plaintiff Suffered Damages.
                                     7
                                         66. Defendant’s acts of infringement of the ’011 Patent have caused damage to Blue
                                     8

                                     9   Spike, and Blue Spike is entitled to recover from Defendant the damages sustained as
                                    10
                                         a result of Defendant’s wrongful acts in an amount described in the prayer below.
                                    11
                                         Defendant’s infringement of Blue Spike’s exclusive rights under the ’011 Patent will
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                                    12

                                    13   continue to damage Blue Spike, causing it irreparable harm, for which there is no
                                    14
                                         adequate remedy at law, warranting an injunction from the Court.
                                    15

                                    16
                                         67. On information and belief, the infringement of the ’011 Patent by Defendant has

                                    17   been willful and continues to be willful. Defendant had knowledge of the ’011 Patent,
                                    18
                                         including but not limited to at least one or more of the following events:
                                    19

                                    20
                                                  a.         The filing of Blue Spike’s complaint against Defendant.

                                    21            b.          Knowledge of Blue Spike’s filings against its competitors, Spotify
                                    22
                                                       and Pandora.
                                    23

                                    24            c.         In the course of its due diligence and freedom to operate analyses.
                                    25            d.         News coverage of Blue Spike’s enforcement of this patent against
                                    26
                                                       other infringers.
                                    27

                                    28


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                                     1             e.         Part of the due diligence investigation performed during Sprint’s
                                     2
                                                        acquisition of 33% ownership of Defendant.
                                     3
                                         68. On information and belief, Defendant has had at least had constructive notice of
                                     4

                                     5   the ’011 Patent by operation of law. Plaintiff believes the evidence provided shows
                                     6
                                         Defendant’s willful infringement is egregious. Even so, Plaintiff is not required to
                                     7
                                         prove egregiousness in its pleadings. “Even after Halo, broader allegations of
                                     8

                                     9   willfulness, without a specific showing of egregiousness, are sufficient to withstand a
                                    10
                                         motion to dismiss.” Shire ViroPharma Inc. v. CSL Behring LLC, CV 17-414, 2018 WL
                                    11
                                         326406, at *3 (D. Del. Jan. 8, 2018) (denying a defendant’s motion to dismiss and
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                                    12

                                    13   noting “Defendants’ argument seems to conflate the standards for pleading willful
                                    14
                                         infringement with the standards for proving willful infringement.”).
                                    15

                                    16
                                         69. A jury is capable, and indeed required, to examine facts that plausibly support a

                                    17   finding of willful infringement. Here, the facts provide “a sufficient predicate” to
                                    18
                                         support a jury’s finding of willfulness. See Barry v. Medtronic, Inc., 250 F. Supp. 3d 107,
                                    19

                                    20
                                         111 (E.D. Tex. 2017) (listing a series of nine-factors utilized in the Federal Circuit,

                                    21   including whether the infringer knew of the other’s patent protection and
                                    22
                                         investigated, the infringers behavior, defendant’s size and financial condition,
                                    23

                                    24   closeness of the case, duration of misconduct, and remedial action taken by defendant
                                    25   once it was notified of infringement, as factors that are “a sufficient predicate” of fact
                                    26
                                         to support a jury’s finding of willfulness).
                                    27

                                    28


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                                     1   70. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                     2
                                         from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                     3
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.
                                     4

                                     5   Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                     6
                                         knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                     7
                                         [it] existed.” Id. at 1547.
                                     8

                                     9                                          COUNT 3:
                                    10                  INFRINGEMENT OF U.S. PATENT NO. 7,813,506 B2
                                    11
                                         71. Blue Spike incorporates by reference the paragraphs above and below.
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12
                                         72. The ’506 Patent is presumed valid, enforceable, and was duly and legally issued
                                    13

                                    14   by the United States Patent and Trademark Office.
                                    15
                                         73.      These claims are directed to a non-abstract improvement in computer
                                    16
                                         functionality, rather than a method of organizing human activity or an idea of itself.
                                    17

                                    18   See Aatrix Software, Inc. v. Green Shades Software, Inc., 2017-1452 (Fed. Cir. Feb. 14,
                                    19
                                         2018).
                                    20
                                         74.      The specification of the ’506 Patent explains both the problem in the prior art
                                    21

                                    22   and the benefit of the computer-implemented invention. This difference is not “well
                                    23
                                         known” or “conventional.” A human cannot perform these tasks.
                                    24
                                         75. Without a license or permission from Blue Spike, Defendant has infringed and
                                    25

                                    26   continues to infringe on one or more claims of the ’506 Patent—directly,
                                    27
                                         contributorily, or by inducement—by importing, making, using, offering for sale, or
                                    28
                                         selling products and devices that embody the patented invention, including, without
                                                                                     24
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                                     1   limitation, one or more of the Accused Products and Services, in violation of 35
                                     2
                                         U.S.C. § 271.
                                     3
                                         Direct Infringement.
                                     4

                                     5   76. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
                                     6
                                         and Services which practice all the elements of the ’506 Patent. For instance, the
                                     7
                                         Accused Products and Services infringe claim 6 of the ’506 Patent which recites:
                                     8

                                     9               A method for distributing accessible digital content,
                                    10
                                                     comprising:
                                                     providing a digital content comprising digital data and file
                                    11               format information;
                                                     selecting a scrambling technique to apply to the digital
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                                    12
                                                     content;
                                    13               scrambling the digital content using a predetermined key
                                    14
                                                     resulting in perceptibly degraded digital content wherein
                                                     the scrambling technique is based on a plurality of
                                    15               predetermined criteria including at least the criteria of
                                    16
                                                     reaching a desired signal quality level for the digital
                                                     content; and
                                    17               distributing the scrambled digital content.
                                    18
                                         77. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
                                    19

                                    20
                                         and Services which institute systems and processes for distributing digital content,

                                    21   i.e. music, incorporating scrambling techniques. See Exhibits 1 & A.
                                    22
                                         Indirect Infringement.
                                    23

                                    24   78. Defendant has been and now is indirectly infringing by way of inducing
                                    25   infringement by others and/or contributing to the infringement by others of the ’506
                                    26
                                         Patent in this State, in this judicial district, and elsewhere in the United States, by,
                                    27

                                    28   among other things, making, using, importing, offering for sale, and/or selling,

                                                                                   25
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                                     1   without license or authority, infringing services for use in systems that fall within the
                                     2
                                         scope of one or more claims of the ’506 Patent. Such products include, without
                                     3
                                         limitation, one or more of the Accused Products and Services. By making, using,
                                     4

                                     5   importing offering for sale, and/or selling such, Defendant injured Blue Spike and is
                                     6
                                         thus liable to Blue Spike for infringement of the ’011 Patent under 35 U.S.C. § 271.
                                     7
                                         79. Defendant actively induces infringement under Title 35 U.S.C. § 271(b).
                                     8

                                     9   Defendant performed actions that induced infringing acts that Defendant knew or
                                    10
                                         should have known would induce actual infringements. See Manville Sales Corp. v.
                                    11
                                         Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v.
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                                    12

                                    13   JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding
                                    14
                                         of inducement requires a threshold finding of direct infringement—either a finding of
                                    15

                                    16
                                         specific instances of direct infringement or a finding that the accused products

                                    17   necessarily infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks
                                    18
                                         Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).
                                    19

                                    20
                                         80. Plaintiff will rely on direct and/or circumstantial evidence to prove the intent

                                    21   element. See Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir.
                                    22
                                         2005) (“A patentee may prove intent through circumstantial evidence.”); Water Techs.
                                    23

                                    24   Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is
                                    25   necessary, direct evidence is not required; rather, circumstantial evidence may
                                    26
                                         suffice.”).
                                    27

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                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 27 of 49 Page ID #:27




                                     1   81. Defendant took active steps to induce infringement, such as advertising an
                                     2
                                         infringing use, which supports a finding of an intention for the accused product to be
                                     3
                                         used in an infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
                                     4

                                     5   545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the
                                     6
                                         contributory infringement doctrine “was devised to identify instances in which it may
                                     7
                                         be presumed from distribution of an article in commerce that the distributor intended
                                     8

                                     9   the article to be used to infringe another’s patent, and so may justly be held liable for
                                    10
                                         that infringement”).
                                    11
                                         82. It is not necessary for Plaintiff to indicate specific customers directly infringing
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                                    12

                                    13   the Patents-in-Suit through the use of Defendant’s products and services. See In re
                                    14
                                         Bill of Lading Transmission and Processing System Pat. Litig., 681 F.3d 1323, 1336 (Fed.
                                    15

                                    16
                                         Cir. 2012).

                                    17   Induced Infringement.
                                    18
                                         83. Defendant induces infringement of its customers, who use the infringing
                                    19

                                    20
                                         functionality, and its partners and resellers, who offer for sale and sell the Accused

                                    21   Products and Services.
                                    22
                                         84. Defendant induces end users of the Accused Products and Services to infringe.
                                    23

                                    24   Defendant induces its customers to infringe at the very least by providing
                                    25   information on how to access the Internet via its router system.
                                    26
                                         85. Defendant also provides customers other incentives to use the infringing
                                    27

                                    28   services, such as premium services. See Exhibit A; see Power Integrations v. Fairchild

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                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 28 of 49 Page ID #:28




                                     1   Semiconductor, 843 F.3d at 1335 (“[W]e have affirmed induced infringement verdicts
                                     2
                                         based on circumstantial evidence of inducement (e.g., advertisements, user manuals)
                                     3
                                         directed to a class of direct infringers (e.g., customers, end users) without requiring
                                     4

                                     5   hard proof that any individual third-party direct infringer was actually persuaded to
                                     6
                                         infringe by that material.”).
                                     7
                                         86. Defendant had knowledge of the ’506 Patent at least as early as the service of
                                     8

                                     9   this complaint, and has known since then that the Accused Products and Services
                                    10
                                         infringe the Patents-in-Suit. Nevertheless, Defendant has continued to induce its
                                    11
                                         customers and partners to infringe. It does so through its instructions accompanying
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                                    12

                                    13   the Accused Products and Services, its technical support, demonstrations and
                                    14
                                         tutorials. Thus, Defendant is liable for infringement of one or more claims of the ’506
                                    15

                                    16
                                         Patent by actively inducing infringement.

                                    17   87. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                    18
                                         from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                    19

                                    20
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.

                                    21   Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                    22
                                         knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                    23

                                    24   [it] existed.” Id. at 1547.
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                                     1   Contributory Infringement.
                                     2
                                         88. Defendant is also a contributory infringer. In addition to proving an act of
                                     3
                                         direct infringement, plaintiff contends that defendant knew that the combination for
                                     4

                                     5   which its components were especially made was both patented and infringing.
                                     6
                                         89. The contributory infringement doctrine was devised to identify instances in
                                     7
                                         which it may be presumed from distribution of an article in commerce that the
                                     8

                                     9   distributor intended the article to be used to infringe another’s patent, and so may
                                    10
                                         justly be held liable for that infringement. See Metro-Goldwyn-Mayer Studios Inc. v.
                                    11
                                         Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781(2005).
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                                    13   90. Defendant contributed to the infringement by providing the Accused Products
                                    14
                                         and Services to its customers, partners and resellers.
                                    15

                                    16
                                         91. The accused functionality in the Accused Products and Services has no

                                    17   substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway, Inc., 580 F. 3d
                                    18
                                         1301 (Fed. Cir. 2009) (holding that the substantial non-infringing uses element of a
                                    19

                                    20
                                         contributory infringement claim applies to an infringing feature or component). An

                                    21   “infringing feature” of a product does not escape liability simply because the product
                                    22
                                         as a whole has other non-infringing uses. See id. at 1321.
                                    23

                                    24   Plaintiff Suffered Damages.
                                    25   92. Defendant’s acts of infringement of the ’506 Patent have caused damage to Blue
                                    26
                                         Spike, and Blue Spike is entitled to recover from Defendant the damages sustained as
                                    27

                                    28   a result of Defendant’s wrongful acts in an amount described in the prayer below.

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                                     1   Defendant’s infringement of Blue Spike’s exclusive rights under the ’506 Patent will
                                     2
                                         continue to damage Blue Spike, causing it irreparable harm, for which there is no
                                     3
                                         adequate remedy at law, warranting an injunction from the Court.
                                     4

                                     5   93. On information and belief, the infringement of the ’506 Patent by Defendant has
                                     6
                                         been willful and continues to be willful. Defendant had knowledge of the ’506 Patent,
                                     7
                                         including but not limited to at least one or more of the following events:
                                     8

                                     9            a.         The filing of Blue Spike’s complaint against Defendant.
                                    10
                                                  b.          Knowledge of Blue Spike’s filings against its competitors, Spotify
                                    11
                                                       and Pandora.
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                                    13            c.         In the course of its due diligence and freedom to operate analyses.
                                    14
                                                  d.         News coverage of Blue Spike’s enforcement of this patent against
                                    15

                                    16
                                                       other infringers.

                                    17            e.         Part of the due diligence investigation performed during Sprint’s
                                    18
                                                       acquisition of 33% ownership of Defendant.
                                    19

                                    20
                                         94. On information and belief, Defendant has had at least had constructive notice of

                                    21   the ’506 Patent by operation of law. Plaintiff believes the evidence provided shows
                                    22
                                         Defendant’s willful infringement is egregious. Even so, Plaintiff is not required to
                                    23

                                    24   prove egregiousness in its pleadings. “Even after Halo, broader allegations of
                                    25   willfulness, without a specific showing of egregiousness, are sufficient to withstand a
                                    26
                                         motion to dismiss.” Shire ViroPharma Inc. v. CSL Behring LLC, CV 17-414, 2018 WL
                                    27

                                    28   326406, at *3 (D. Del. Jan. 8, 2018) (denying a defendant’s motion to dismiss and

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                                     1   noting “Defendants’ argument seems to conflate the standards for pleading willful
                                     2
                                         infringement with the standards for proving willful infringement.”).
                                     3
                                         95. A jury is capable, and indeed required, to examine facts that plausibly support a
                                     4

                                     5   finding of willful infringement. Here, the facts provide “a sufficient predicate” to
                                     6
                                         support a jury’s finding of willfulness. See Barry v. Medtronic, Inc., 250 F. Supp. 3d 107,
                                     7
                                         111 (E.D. Tex. 2017) (listing a series of nine-factors utilized in the Federal Circuit,
                                     8

                                     9   including whether the infringer knew of the other’s patent protection and
                                    10
                                         investigated, the infringers behavior, defendant’s size and financial condition,
                                    11
                                         closeness of the case, duration of misconduct, and remedial action taken by defendant
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                                    12

                                    13   once it was notified of infringement, as factors that are “a sufficient predicate” of fact
                                    14
                                         to support a jury’s finding of willfulness).
                                    15

                                    16
                                         96. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts

                                    17   from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                    18
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.
                                    19

                                    20
                                         Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege

                                    21   knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                    22
                                         [it] existed.” Id. at 1547.
                                    23

                                    24                                COUNT 4:
                                                         INFRINGEMENT OF U.S. PATENT 7,664,263 B2
                                    25

                                    26   97. Blue Spike incorporates by reference the paragraphs above and below.
                                    27   98. The ’263 Patent is presumed valid, enforceable, and was duly and legally issued
                                    28
                                         by the United States Patent and Trademark Office.
                                                                                        31
                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 32 of 49 Page ID #:32




                                     1   99.      These claims are directed to a non-abstract improvement in computer
                                     2
                                         functionality, rather than a method of organizing human activity or an idea of itself.
                                     3
                                         See Aatrix Software, Inc. v. Green Shades Software, Inc., 2017-1452 (Fed. Cir. Feb. 14,
                                     4

                                     5   2018).
                                     6
                                         100. The specification of the ’263 Patent explains both the problem in the prior art
                                     7
                                         and the benefit of the computer-implemented invention. This difference is not “well
                                     8

                                     9   known” or “conventional.” A human cannot perform these tasks.
                                    10
                                         101. Without a license or permission from Blue Spike, Defendant has infringed and
                                    11
                                         continues to infringe on one or more claims of the ’263 Patent—directly,
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                                    12

                                    13   contributorily, or by inducement—by importing, making, using, offering for sale, or
                                    14
                                         selling products and devices that embody the patented invention, including, without
                                    15

                                    16
                                         limitation, one or more of the Accused Products and Services, in violation of 35

                                    17   U.S.C. § 271.
                                    18
                                         Direct Infringement.
                                    19

                                    20
                                         102. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products

                                    21   and Services which practice all the elements of the ’263 Patent. For instance, the
                                    22
                                         Accused Products and Services infringe claim 1 of the ’263 Patent which recites:
                                    23

                                    24                  A method for protecting a digital signal, comprising the
                                                       steps of:
                                    25                 providing a digital signal comprising digital data and file
                                    26                 format information defining how the digital signal is
                                                       encoded;
                                    27                 creating a predetermined key to manipulate the digital
                                    28                 signal wherein the predetermined key comprises a plurality
                                                       of mask sets; and
                                                                                   32
                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 33 of 49 Page ID #:33




                                     1                manipulating the digital signal using the predetermined key
                                                      to generate at least one permutation of the digital signal
                                     2
                                                      parameterized by the file format information defining how
                                     3                the digital signal is encoded.
                                     4
                                         103. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
                                     5
                                         and Services which institute systems and processes for protecting digital signals, i.e.
                                     6

                                     7   music, by incorporating keys and masks sets. See Exhibits 1 & A.
                                     8
                                         Indirect Infringement.
                                     9

                                    10
                                         104. Defendant has been and now is indirectly infringing by way of inducing

                                    11   infringement by others and/or contributing to the infringement by others of the ’263
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12
                                         Patent in this State, in this judicial district, and elsewhere in the United States, by,
                                    13

                                    14
                                         among other things, making, using, importing, offering for sale, and/or selling,

                                    15   without license or authority, infringing services for use in systems that fall within the
                                    16
                                         scope of one or more claims of the ’263 Patent. Such products include, without
                                    17

                                    18
                                         limitation, one or more of the Accused Products and Services. By making, using,

                                    19   importing offering for sale, and/or selling such, Defendant injured Blue Spike and is
                                    20
                                         thus liable to Blue Spike for infringement of the ’011 Patent under 35 U.S.C. § 271.
                                    21

                                    22   105. Defendant actively induces infringement under Title 35 U.S.C. § 271(b).
                                    23   Defendant performed actions that induced infringing acts that Defendant knew or
                                    24
                                         should have known would induce actual infringements. See Manville Sales Corp. v.
                                    25

                                    26   Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v.
                                    27   JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding
                                    28
                                         of inducement requires a threshold finding of direct infringement—either a finding of
                                                                                    33
                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 34 of 49 Page ID #:34




                                     1   specific instances of direct infringement or a finding that the accused products
                                     2
                                         necessarily infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks
                                     3
                                         Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).
                                     4

                                     5   106. Plaintiff will rely on direct and/or circumstantial evidence to prove the intent
                                     6
                                         element. See Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir.
                                     7
                                         2005) (“A patentee may prove intent through circumstantial evidence.”); Water Techs.
                                     8

                                     9   Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is
                                    10
                                         necessary, direct evidence is not required; rather, circumstantial evidence may
                                    11
                                         suffice.”).
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12

                                    13   107. Defendant took active steps to induce infringement, such as advertising an
                                    14
                                         infringing use, which supports a finding of an intention for the accused product to be
                                    15

                                    16
                                         used in an infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,

                                    17   545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the
                                    18
                                         contributory infringement doctrine “was devised to identify instances in which it may
                                    19

                                    20
                                         be presumed from distribution of an article in commerce that the distributor intended

                                    21   the article to be used to infringe another’s patent, and so may justly be held liable for
                                    22
                                         that infringement”).
                                    23

                                    24   108. It is not necessary for Plaintiff to indicate specific customers directly infringing
                                    25   the Patents-in-Suit through the use of Defendant’s products and services. See In re
                                    26
                                         Bill of Lading Transmission and Processing System Pat. Litig., 681 F.3d 1323, 1336 (Fed.
                                    27

                                    28   Cir. 2012).

                                                                                    34
                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 35 of 49 Page ID #:35




                                     1   Induced Infringement.
                                     2
                                         109. Defendant induces infringement of its customers, who use the infringing
                                     3
                                         functionality, and its partners and resellers, who offer for sale and sell the Accused
                                     4

                                     5   Products and Services.
                                     6
                                         110. Defendant induces end users of the Accused Products and Services to infringe.
                                     7
                                         Defendant induces its customers to infringe at the very least by providing
                                     8

                                     9   information on how to access the Internet via its router system.
                                    10
                                         111. Defendant also provides customers other incentives to use the infringing
                                    11
                                         services, such as premium services. See Exhibit A; see Power Integrations v. Fairchild
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12

                                    13   Semiconductor, 843 F.3d at 1335 (“[W]e have affirmed induced infringement verdicts
                                    14
                                         based on circumstantial evidence of inducement (e.g., advertisements, user manuals)
                                    15

                                    16
                                         directed to a class of direct infringers (e.g., customers, end users) without requiring

                                    17   hard proof that any individual third-party direct infringer was actually persuaded to
                                    18
                                         infringe by that material.”).
                                    19

                                    20
                                         112. Defendant had knowledge of the ’263 Patent at least as early as the service of

                                    21   this complaint, and has known since then that the Accused Products and Services
                                    22
                                         infringe the Patents-in-Suit. Nevertheless, Defendant has continued to induce its
                                    23

                                    24   customers and partners to infringe. It does so through its instructions accompanying
                                    25   the Accused Products and Services, its technical support, demonstrations and
                                    26
                                         tutorials. Thus, Defendant is liable for infringement of one or more claims of the ’263
                                    27

                                    28   Patent by actively inducing infringement.

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                                     1   113. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                     2
                                         from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                     3
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.
                                     4

                                     5   Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                     6
                                         knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                     7
                                         [it] existed.” Id. at 1547.
                                     8

                                     9   Contributory Infringement.
                                    10
                                         114. Defendant is also a contributory infringer. In addition to proving an act of
                                    11
                                         direct infringement, plaintiff contends that defendant knew that the combination for
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12

                                    13   which its components were especially made was both patented and infringing.
                                    14
                                         115. The contributory infringement doctrine was devised to identify instances in
                                    15

                                    16
                                         which it may be presumed from distribution of an article in commerce that the

                                    17   distributor intended the article to be used to infringe another’s patent, and so may
                                    18
                                         justly be held liable for that infringement. See Metro-Goldwyn-Mayer Studios Inc. v.
                                    19

                                    20
                                         Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781(2005).

                                    21   116. Defendant contributed to the infringement by providing the Accused Products
                                    22
                                         and Services to its customers, partners and resellers.
                                    23

                                    24   117. The accused functionality in the Accused Products and Services has no
                                    25   substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway, Inc., 580 F. 3d
                                    26
                                         1301 (Fed. Cir. 2009) (holding that the substantial non-infringing uses element of a
                                    27

                                    28   contributory infringement claim applies to an infringing feature or component). An

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                                     1   “infringing feature” of a product does not escape liability simply because the product
                                     2
                                         as a whole has other non-infringing uses. See id. at 1321.
                                     3
                                         Plaintiff Suffered Damages.
                                     4

                                     5   118. Defendant’s acts of infringement of the ’263 Patent have caused damage to Blue
                                     6
                                         Spike, and Blue Spike is entitled to recover from Defendant the damages sustained as
                                     7
                                         a result of Defendant’s wrongful acts in an amount described in the prayer below.
                                     8

                                     9   Defendant’s infringement of Blue Spike’s exclusive rights under the ’263 Patent will
                                    10
                                         continue to damage Blue Spike, causing it irreparable harm, for which there is no
                                    11
                                         adequate remedy at law, warranting an injunction from the Court.
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12

                                    13   119. On information and belief, the infringement of the ’263 Patent by Defendant has
                                    14
                                         been willful and continues to be willful. Defendant had knowledge of the ’263 Patent,
                                    15

                                    16
                                         including but not limited to at least one or more of the following events:

                                    17            a.         The filing of Blue Spike’s complaint against Defendant.
                                    18
                                                  b.         Knowledge of Blue Spike’s filings against its competitors, Spotify
                                    19

                                    20
                                                       and Pandora.

                                    21            c.         In the course of its due diligence and freedom to operate analyses.
                                    22
                                                  d.         News coverage of Blue Spike’s enforcement of this patent against
                                    23

                                    24                 other infringers.
                                    25            e.         Part of the due diligence investigation performed during Sprint’s
                                    26
                                                       acquisition of 33% ownership of Defendant.
                                    27

                                    28


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                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 38 of 49 Page ID #:38




                                     1   120. On information and belief, Defendant has had at least had constructive notice of
                                     2
                                         the ’263 Patent by operation of law. Plaintiff believes the evidence provided shows
                                     3
                                         Defendant’s willful infringement is egregious. Even so, Plaintiff is not required to
                                     4

                                     5   prove egregiousness in its pleadings. “Even after Halo, broader allegations of
                                     6
                                         willfulness, without a specific showing of egregiousness, are sufficient to withstand a
                                     7
                                         motion to dismiss.” Shire ViroPharma Inc. v. CSL Behring LLC, CV 17-414, 2018 WL
                                     8

                                     9   326406, at *3 (D. Del. Jan. 8, 2018) (denying a defendant’s motion to dismiss and
                                    10
                                         noting “Defendants’ argument seems to conflate the standards for pleading willful
                                    11
                                         infringement with the standards for proving willful infringement.”).
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                                    13   121. A jury is capable, and indeed required, to examine facts that plausibly support a
                                    14
                                         finding of willful infringement. Here, the facts provide “a sufficient predicate” to
                                    15

                                    16
                                         support a jury’s finding of willfulness. See Barry v. Medtronic, Inc., 250 F. Supp. 3d 107,

                                    17   111 (E.D. Tex. 2017) (listing a series of nine-factors utilized in the Federal Circuit,
                                    18
                                         including whether the infringer knew of the other’s patent protection and
                                    19

                                    20
                                         investigated, the infringers behavior, defendant’s size and financial condition,

                                    21   closeness of the case, duration of misconduct, and remedial action taken by defendant
                                    22
                                         once it was notified of infringement, as factors that are “a sufficient predicate” of fact
                                    23

                                    24   to support a jury’s finding of willfulness).
                                    25   122. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                    26
                                         from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                    27

                                    28   1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.

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                                     1   Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                     2
                                         knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                     3
                                         [it] existed.” Id. at 1547.
                                     4

                                     5                                 COUNT 5:
                                                  INFRINGEMENT OF U.S. PATENT U.S. PATENT 8,265,276 B2
                                     6

                                     7   123. Blue Spike incorporates by reference the paragraphs above and below.
                                     8
                                         124. The ’276 Patent is presumed valid, enforceable, and was duly and legally issued
                                     9

                                    10
                                         by the United States Patent and Trademark Office.

                                    11   125. These claims are directed to a non-abstract improvement in computer
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                                    12
                                         functionality, rather than a method of organizing human activity or an idea of itself.
                                    13

                                    14
                                         See Aatrix Software, Inc. v. Green Shades Software, Inc., 2017-1452 (Fed. Cir. Feb. 14,

                                    15   2018).
                                    16
                                         126. The specification of the ’276 Patent explains both the problem in the prior art
                                    17

                                    18
                                         and the benefit of the computer-implemented invention. This difference is not “well

                                    19   known” or “conventional.” A human cannot perform these tasks.
                                    20
                                         127. Without a license or permission from Blue Spike, Defendant has infringed and
                                    21

                                    22   continues to infringe on one or more claims of the ’276 Patent—directly,
                                    23   contributorily, or by inducement—by importing, making, using, offering for sale, or
                                    24
                                         selling products and devices that embody the patented invention, including, without
                                    25

                                    26   limitation, one or more of the Accused Products and Services, in violation of 35
                                    27   U.S.C. § 271.
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                                     1   Direct Infringement.
                                     2
                                         128. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products
                                     3
                                         and Services which practice all the elements of the ’276 Patent. For instance, the
                                     4

                                     5   Accused Products and Services infringe claim 1 of the ’276 Patent which recites:
                                     6
                                                      A method for protecting a digital signal, comprising the
                                     7                steps of:
                                                      providing a digital signal comprising digital data and file
                                     8
                                                      format information defining how the digital signal is
                                     9                encoded;
                                    10
                                                      creating a predetermined key to manipulate the digital
                                                      signal;
                                    11                manipulating the digital signal using the predetermined key
                                                      to generate at least one permutation of the digital signal
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                                    12
                                                      parameterized by the file format information defining how
                                    13                the digital signal is encoded;
                                    14
                                                      wherein the predetermined key comprises one or more mask
                                                      sets having random or pseudo-random series of bits; and
                                    15                validating the one or more mask sets either before or after
                                    16
                                                      manipulating the file format information using the
                                                      predetermined key.
                                    17

                                    18
                                         129. Defendant makes, uses, offers for sale and sells in the U.S. the Accused Products

                                    19   and Services which institute systems and processes for protecting digital signals, i.e.
                                    20
                                         music, by incorporating keys and masks sets. See Exhibits 1 & A.
                                    21

                                    22   Indirect Infringement.
                                    23   130. Defendant has been and now is indirectly infringing by way of inducing
                                    24
                                         infringement by others and/or contributing to the infringement by others of the ’276
                                    25

                                    26   Patent in this State, in this judicial district, and elsewhere in the United States, by,
                                    27   among other things, making, using, importing, offering for sale, and/or selling,
                                    28
                                         without license or authority, infringing services for use in systems that fall within the
                                                                                    40
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                                     1   scope of one or more claims of the ’276 Patent. Such products include, without
                                     2
                                         limitation, one or more of the Accused Products and Services. By making, using,
                                     3
                                         importing offering for sale, and/or selling such, Defendant injured Blue Spike and is
                                     4

                                     5   thus liable to Blue Spike for infringement of the ’276 Patent under 35 U.S.C. § 271.
                                     6
                                         131. Defendant actively induces infringement under Title 35 U.S.C. § 271(b).
                                     7
                                         Defendant performed actions that induced infringing acts that Defendant knew or
                                     8

                                     9   should have known would induce actual infringements. See Manville Sales Corp. v.
                                    10
                                         Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v.
                                    11
                                         JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12

                                    13   of inducement requires a threshold finding of direct infringement—either a finding of
                                    14
                                         specific instances of direct infringement or a finding that the accused products
                                    15

                                    16
                                         necessarily infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks

                                    17   Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).
                                    18
                                         132. Plaintiff will rely on direct and/or circumstantial evidence to prove the intent
                                    19

                                    20
                                         element. See Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir.

                                    21   2005) (“A patentee may prove intent through circumstantial evidence.”); Water Techs.
                                    22
                                         Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is
                                    23

                                    24   necessary, direct evidence is not required; rather, circumstantial evidence may
                                    25   suffice.”).
                                    26
                                         133. Defendant took active steps to induce infringement, such as advertising an
                                    27

                                    28   infringing use, which supports a finding of an intention for the accused product to be

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                                    Case 2:18-cv-05026-JAK-JPR Document 1 Filed 06/06/18 Page 42 of 49 Page ID #:42




                                     1   used in an infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
                                     2
                                         545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the
                                     3
                                         contributory infringement doctrine “was devised to identify instances in which it may
                                     4

                                     5   be presumed from distribution of an article in commerce that the distributor intended
                                     6
                                         the article to be used to infringe another’s patent, and so may justly be held liable for
                                     7
                                         that infringement”).
                                     8

                                     9   134. It is not necessary for Plaintiff to indicate specific customers directly infringing
                                    10
                                         the Patents-in-Suit through the use of Defendant’s products and services. See In re
                                    11
                                         Bill of Lading Transmission and Processing System Pat. Litig., 681 F.3d 1323, 1336 (Fed.
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                                    12

                                    13   Cir. 2012).
                                    14
                                         Induced Infringement.
                                    15

                                    16
                                         135. Defendant induces infringement of its customers, who use the infringing

                                    17   functionality, and its partners and resellers, who offer for sale and sell the Accused
                                    18
                                         Products and Services.
                                    19

                                    20
                                         136. Defendant induces end users of the Accused Products and Services to infringe.

                                    21   Defendant induces its customers to infringe at the very least by providing
                                    22
                                         information on how to access the Internet via its router system.
                                    23

                                    24   137. Defendant also provides customers other incentives to use the infringing
                                    25   services, such as premium services. See Exhibit A; see Power Integrations v. Fairchild
                                    26
                                         Semiconductor, 843 F.3d at 1335 (“[W]e have affirmed induced infringement verdicts
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                                    28   based on circumstantial evidence of inducement (e.g., advertisements, user manuals)

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                                     1   directed to a class of direct infringers (e.g., customers, end users) without requiring
                                     2
                                         hard proof that any individual third-party direct infringer was actually persuaded to
                                     3
                                         infringe by that material.”).
                                     4

                                     5   138. Defendant had knowledge of the ’276 Patent at least as early as the service of
                                     6
                                         this complaint, and has known since then that the Accused Products and Services
                                     7
                                         infringe the Patents-in-Suit. Nevertheless, Defendant has continued to induce its
                                     8

                                     9   customers and partners to infringe. It does so through its instructions accompanying
                                    10
                                         the Accused Products and Services, its technical support, demonstrations and
                                    11
                                         tutorials. Thus, Defendant is liable for infringement of one or more claims of the ’276
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                                    12

                                    13   Patent by actively inducing infringement.
                                    14
                                         139. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                    15

                                    16
                                         from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,

                                    17   1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.
                                    18
                                         Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                    19

                                    20
                                         knowledge or intent “generally, just as the rule states—that is, simply by saying that

                                    21   [it] existed.” Id. at 1547.
                                    22
                                         Contributory Infringement.
                                    23

                                    24   140. Defendant is also a contributory infringer. In addition to proving an act of
                                    25   direct infringement, plaintiff contends that defendant knew that the combination for
                                    26
                                         which its components were especially made was both patented and infringing.
                                    27

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                                     1   141. The contributory infringement doctrine was devised to identify instances in
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                                         which it may be presumed from distribution of an article in commerce that the
                                     3
                                         distributor intended the article to be used to infringe another’s patent, and so may
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                                     5   justly be held liable for that infringement. See Metro-Goldwyn-Mayer Studios Inc. v.
                                     6
                                         Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162 L. Ed. 2d 781(2005).
                                     7
                                         142. Defendant contributed to the infringement by providing the Accused Products
                                     8

                                     9   and Services to its customers, partners and resellers.
                                    10
                                         143. The accused functionality in the Accused Products and Services has no
                                    11
                                         substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway, Inc., 580 F. 3d
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                                    13   1301 (Fed. Cir. 2009) (holding that the substantial non-infringing uses element of a
                                    14
                                         contributory infringement claim applies to an infringing feature or component). An
                                    15

                                    16
                                         “infringing feature” of a product does not escape liability simply because the product

                                    17   as a whole has other non-infringing uses. See id. at 1321.
                                    18
                                         Plaintiff Suffered Damages.
                                    19

                                    20
                                         144. Defendant’s acts of infringement of the ’276 Patent have caused damage to Blue

                                    21   Spike, and Blue Spike is entitled to recover from Defendant the damages sustained as
                                    22
                                         a result of Defendant’s wrongful acts in an amount described in the prayer below.
                                    23

                                    24   Defendant’s infringement of Blue Spike’s exclusive rights under the ’276 Patent will
                                    25   continue to damage Blue Spike, causing it irreparable harm, for which there is no
                                    26
                                         adequate remedy at law, warranting an injunction from the Court.
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                                     1   145. On information and belief, the infringement of the ’276 Patent by Defendant has
                                     2
                                         been willful and continues to be willful. Defendant had knowledge of the ’276 Patent,
                                     3
                                         including but not limited to at least one or more of the following events:
                                     4

                                     5            a.         The filing of Blue Spike’s complaint against Defendant.
                                     6
                                                  b.         Knowledge of Blue Spike’s filings against its competitors, Spotify
                                     7
                                                       and Pandora.
                                     8

                                     9            c.         In the course of its due diligence and freedom to operate analyses.
                                    10
                                                  d.         News coverage of Blue Spike’s enforcement of this patent against
                                    11
                                                       other infringers.
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                                    12

                                    13            e.         Part of the due diligence investigation performed during Sprint’s
                                    14
                                                       acquisition of 33% ownership of Defendant.
                                    15

                                    16
                                         146. On information and belief, Defendant has had at least had constructive notice of

                                    17   the ’276 Patent by operation of law. Plaintiff believes the evidence provided shows
                                    18
                                         Defendant’s willful infringement is egregious. Even so, Plaintiff is not required to
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                                    20
                                         prove egregiousness in its pleadings. “Even after Halo, broader allegations of

                                    21   willfulness, without a specific showing of egregiousness, are sufficient to withstand a
                                    22
                                         motion to dismiss.” Shire ViroPharma Inc. v. CSL Behring LLC, CV 17-414, 2018 WL
                                    23

                                    24   326406, at *3 (D. Del. Jan. 8, 2018) (denying a defendant’s motion to dismiss and
                                    25   noting “Defendants’ argument seems to conflate the standards for pleading willful
                                    26
                                         infringement with the standards for proving willful infringement.”).
                                    27

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                                     1   147. A jury is capable, and indeed required, to examine facts that plausibly support a
                                     2
                                         finding of willful infringement. Here, the facts provide “a sufficient predicate” to
                                     3
                                         support a jury’s finding of willfulness. See Barry v. Medtronic, Inc., 250 F. Supp. 3d 107,
                                     4

                                     5   111 (E.D. Tex. 2017) (listing a series of nine-factors utilized in the Federal Circuit,
                                     6
                                         including whether the infringer knew of the other’s patent protection and
                                     7
                                         investigated, the infringers behavior, defendant’s size and financial condition,
                                     8

                                     9   closeness of the case, duration of misconduct, and remedial action taken by defendant
                                    10
                                         once it was notified of infringement, as factors that are “a sufficient predicate” of fact
                                    11
                                         to support a jury’s finding of willfulness).
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                                    12

                                    13   148. The Ninth Circuit has rejected the notion that a plaintiff must allege the facts
                                    14
                                         from which knowledge is to be inferred. In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
                                    15

                                    16
                                         1545–47 (9th Cir. 1994), superseded by statute on other grounds as recognized in Ronconi v.

                                    17   Larkin, 253 F.3d 423, 429 n.6 (9th Cir. 2001). Rather, it is sufficient to allege
                                    18
                                         knowledge or intent “generally, just as the rule states—that is, simply by saying that
                                    19

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                                         [it] existed.” Id. at 1547.

                                    21                                  REQUEST FOR RELIEF
                                    22
                                               Blue Spike incorporates each of the allegations in the paragraphs above and
                                    23

                                    24   respectfully asks the Court to:
                                    25   (a)   enter a judgment that Defendant has directly infringed, contributorily
                                    26
                                         infringed, and/or induced infringement of one or more claims of each of the Patents-
                                    27

                                    28   in-Suit in the amount of reasonable royalty based on revenue of accused product and

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                                     1   service sales of more than $50 million and more than a total of $210 million if
                                     2
                                         damages are trebled;
                                     3
                                         (b)   enter a judgment awarding Blue Spike all damages adequate to compensate it
                                     4

                                     5   for Defendant’s infringement of, direct or contributory, or inducement to infringe, the
                                     6
                                         Patents-in-Suit, including all pre-judgment and post-judgment interest at the
                                     7
                                         maximum rate permitted by law;
                                     8

                                     9   (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for
                                    10
                                         Defendant’s willful infringement of one or more of the Patents-in-Suit;
                                    11
                                         (d)   issue a preliminary injunction and thereafter a permanent injunction enjoining
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                                    13   and restraining Defendant, its directors, officers, agents, servants, employees, and
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                                         those acting in privity or in concert with them, and their subsidiaries, divisions,
                                    15

                                    16
                                         successors, and assigns, from further acts of infringement, contributory infringement,

                                    17   or inducement of infringement of the Patents-in-Suit;
                                    18
                                         (e)   enter a judgment requiring Defendant to pay the costs of this action, including
                                    19

                                    20
                                         all disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285, together with

                                    21   prejudgment interest; and
                                    22
                                         (f)   award Blue Spike all other relief that the Court may deem just and proper.
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                                     1                           DEMAND FOR JURY TRIAL
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                                             Blue Spike demands a jury trial on all issues that may be determined by a jury.
                                     3

                                     4

                                     5                                               Respectfully submitted,
                                     6

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                                    17                                               Counsel for Blue Spike LLC
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                                     1
                                                                   CERTIFICATE OF SERVICE
                                     2

                                     3         The undersigned certifies that the foregoing document was filed electronically
                                         in compliance with Local Rule CV-5(a). As such, this document was served on all
                                     4
                                         counsel deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).
                                     5   Pursuant to Federal Rule of Civil Procedure 5(d) and Local Rule CV-5(d) and (e), all
                                         other counsel of record not deemed to have consented to electronic service were
                                     6
                                         served with a true and correct copy of the foregoing by email, on this date stamped
                                     7   above.
                                     8

                                     9                                                 /s/ Randall Garteiser
                                    10

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